     Case 3:12-cr-00413-FAB      Document 1097       Filed 02/11/14    Page 1 of 10



                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

        Plaintiff,

                   v.                             CRIMINAL NO. 12-413 (FAB)

CARLOS I. ARCE-LOPEZ [13]
ANNETTE CANCEL-LORENZANA [22],

        Defendants.


                            MEMORANDUM AND ORDER

BESOSA, District Judge.

      Before   the      Court    are    defendants     Carlos    Arce-Lopez’s         and

Annette Cancel-Lorenzana’s motion to suppress (Docket No. 1033),

and the United States’s response (Docket No. 1080).                           For the

reasons stated below, the Court DENIES defendants’ motion to

suppress.

I.    Background

      On May 24, 2012, defendant Arce was indicted and charged in a

drug trafficking conspiracy that allegedly took place between 1999

and 2009.      (Docket No. 3.)          The indictment was filed sealed on

May 24, 2012.        One day before the indictment was unsealed and

defendant Arce was arrested, on June 5, 2012, the United States

applied for a search warrant, submitting an affidavit signed by

Drug Enforcement Administration (“DEA”) Agent George I. Horton in

its support. (Docket No. 1033-1.) That same day, Magistrate Judge

Bruce   McGiverin       signed    and    issued    the   search       warrant,   which
      Case 3:12-cr-00413-FAB    Document 1097     Filed 02/11/14   Page 2 of 10



Criminal No. 12-413 (FAB)                                                          2

identified for seizure a number of items inside the residence of

defendants Arce and Cancel.1            Id.     The following day, the date

defendant Arce was arrested, Agent Horton executed the search

warrant     and    seized   several    items    from   defendants’     residence,

including:        (1) a handgun with ammunition; (2) $15,753.00 in cash;

(3)    eight   suitcases;      (4)    miscellaneous     documents     related     to

defendants’ business, Arce Hardware store; and (5) miscellaneous

documents related to defendant Arce.              (Docket No. 1033-2.)        Both

defendants were subsequently charged with conspiracy to commit

money laundering in a superseding indictment filed on March 13,

2013.      (Docket No. 518.)

II.    Discussion

       Defendants move to suppress the fruits of the June 5, 2012

search warrant (“the warrant”), which they claim was invalid

because it was (1) based on stale information, and (2) overly

broad.      (Docket No. 1033.)        The United States contends that the

warrant was valid as issued; assuming the warrant was invalid,

however, the United States claims that the good faith exception to

the exclusionary rule applies, and exclusion of the evidence is

inappropriate. (Docket No. 1080.) The United States concedes that

defendants, as owners and residents of the home that was searched,

have standing to challenge the warrant.



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       At the time the search warrant was issued, Cancel had not yet been
indicted in this case.
     Case 3:12-cr-00413-FAB   Document 1097    Filed 02/11/14    Page 3 of 10



Criminal No. 12-413 (FAB)                                                        3

      A.    Standard of Review for Search Warrants

            The Fourth Amendment provides that “no warrants shall

issue, but upon probable cause, supported by oath or affirmation,

and particularly describing the place to be searched and the

persons or things to be seized.”        U.S. Const. amend IV.          The Bill

of Rights requires that search warrants contain a “particular

description” of things to be seized in order to prevent a “general,

exploratory rummaging in a person’s belongings.”                Coolidge v. New

Hampshire, 403 U.S. 443, 467 (1971) (internal citations omitted).

Probable cause to issue a search warrant exists when “given all the

circumstances set forth in the affidavit . . . , there is a fair

probability that contraband or evidence of a crime will be found in

a particular place.”      Illinois v. Gates, 462 U.S. 213, 214 (1983)

A reviewing court must “determine whether a ‘substantial basis’

existed for the magistrate’s determination that probable cause

existed.”    United States v. Keene, 341 F.3d 78, 81 (1st Cir. 2003)

(citing Gates, 462 U.S. at 238). In determining the sufficiency of

an   affidavit,   the   Court    considers    “whether    the     ‘totality     of

circumstances’ stated in the affidavit demonstrates probable cause

to search the premises.”        United States v. Martin, 286 F. Supp. 2d

43, 45 (D. Mass. 2003) (quoting United States v. Barnard, 299 F.3d

90, 93 (1st Cir. 2002)).
    Case 3:12-cr-00413-FAB   Document 1097   Filed 02/11/14   Page 4 of 10



Criminal No. 12-413 (FAB)                                                    4

             An evidentiary hearing is not warranted by every motion

to suppress.2     The test for granting an evidentiary hearing in a

criminal case is whether the “movant makes a sufficient threshold

showing that material facts are in doubt or dispute, and that such

facts cannot reliably be resolved on a paper record.”                  United

States v. Staula, 80 F.3d 596, 603 (1st Cir. 1996) (internal

citations omitted).     A district court “has considerable discretion

in determining the need for, and the utility of, evidentiary

hearings. . . .”     United States v. Allen, 573 F.3d 42, 51 (1st Cir.

2009) (internal citation and quotations omitted).             An evidentiary

hearing is not required where “accurate resolution of the factual

issues would not [be] materially advanced by . . . an adversary

hearing.” In re Terrorist Bombings of U.S. Embassies in E. Africa,

552 F.3d 157, 165 (2d. Cir. 2008) (internal citations omitted).

Here, the defendants did not request an evidentiary hearing, and

their arguments hinge on a legal analysis of the validity of the

warrant affidavit, and an objective assessment of the officer’s

conduct in executing the warrant.            No factual issues are in

dispute, and no credibility determinations are necessary to decide

the defendants’ motion.      Rather, the parties merely disagree over

the application of controlling law to the warrant affidavit.




     2
          The defendants did not request an evidentiary hearing in their
motion.
      Case 3:12-cr-00413-FAB      Document 1097    Filed 02/11/14   Page 5 of 10



Criminal No. 12-413 (FAB)                                                            5

             The    search     warrant    was     issued    after   the   original

indictment was filed sealed, and one day before it was unsealed and

defendant Arce was arrested.           It was executed on the day defendant

Arce was arrested. Defendant Arce was charged, along with 19 other

defendants, with one count of conspiracy to possess more than five

(5) kilograms of cocaine in order to distribute it, and one count

of possession of more than five (5) kilograms of cocaine with the

intention of distributing it, and aiding and abetting others to do

so.     Accordingly, the Court does not find that a hearing is

required to resolve the motion to suppress.

       B.    The Warrant’s Deficiencies:           Staleness and Overbreadth

             Defendants claim that the warrant was invalid because it

was based on stale information and was overbroad in its scope.                     The

Court addresses each argument in turn.

             1.     Staleness

                    A   warrant    must establish       a   “tri-cornered     nexus

between the criminal act, the evidence to be seized, and the place

to be searched;” this nexus must also “incorporate a temporal

dimension.”        United States v. Ricciardelli, 998 F.2d 8, 13 (1st

Cir. 1993).        If a supporting affidavit does not contain timely

information, it will fail. United States v. Schaefer, 87 F.3d 562,

568 (1st Cir. 1996).           Courts considering the timeliness of the

information in a supporting affidavit consider such factors as the

nature of the information, the nature of the supposed criminal
    Case 3:12-cr-00413-FAB     Document 1097     Filed 02/11/14     Page 6 of 10



Criminal No. 12-413 (FAB)                                                            6

activity,   the nature       and   characteristics      of   the place       to    be

searched, and the nature of the items outlined in the warrant.                     Id.

                 The   warrant      affidavit’s     probable      cause     section

states that a DEA investigation revealed,

            On at least 10 occasions through 2009, a DTO
            [drug-trafficking     organization]     member
            retrieved cocaine shipments from ARCE-LOPEZ’
            residence to be packaged and prepared for
            transport.   It is estimated he supplied the
            DTO with at least 5,000 kilograms of cocaine
            to be transported to the Continental United
            States   between   2004   and   2009.      The
            investigation also revealed that ARCE-LOPEZ is
            listed, along with his wife, as the owner of
            at least four real estate properties in Puerto
            Rico.

(Docket No. 1033-1).      The probable cause statement also mentions

that the defendants purchased real estate in 2000 and 2004, and

that defendant Arce did not file a Puerto Rico tax return for the

years 2002 - 2004.       Id.   The warrant application sought a search

warrant for one of the defendants’ residential properties, and

indicated reason to believe the defendants were the current owners

and residents of that particular residence.              Id.

                 Defendants        fail   to   establish     that    the    warrant

affidavit    contained       impermissibly      stale    information.              The

information provided in support of probable cause was obtained
    Case 3:12-cr-00413-FAB         Document 1097   Filed 02/11/14   Page 7 of 10



Criminal No. 12-413 (FAB)                                                            7

through      an   ongoing    DEA    investigation3    of   defendant     Arce      and

pertains to a multi-year drug trafficking operation involving the

transportation       of     thousands    of    kilograms   of   cocaine     to     the

Continental       United    States    aboard    American   Airlines     commercial

flights.      Drug trafficking is “apt to persist over relatively long

periods of time,” United States v. Nocella, 849 F.2d 33, 39-40 (1st

Cir. 1988), and courts have upheld probable cause determinations in

cases involving information that was weeks - to three-years-old,

see, e.g., United States v. Morales-Aldahondo, 524 F.3d 115, 119

(1st Cir. 2008) (finding the passage of more than three years from

the acquisition of the evidence until the warrant application did

not render the application stale, given testimony regarding the

enduring nature of the evidence seized); United States v. Greany,

929 F.2d 523, 525 (9th Cir. 1991) (finding that two-year-old

information regarding marijuana growing equipment was not stale).

Due to the ongoing nature of drug conspiracies, information and

things that may be regarded in other contexts as stale is likely to

be timely in a drug trafficking case.                See Schaefer, 87 F.3d at

568.       The Court agrees with an observation made by the Sixth


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           The agent’s affidavit states as follows:

              “2. The statements contained in this affidavit are
              based   in  part   on  information   provided   by
              confidential sources (CS), sources of information
              (SOI) , other Special Agents and Task Force
              Officers working on this investigation . . .” As
              can be seen, the present tense is used in the
              affidavit, indicating that an investigation is
              still ongoing.
      Case 3:12-cr-00413-FAB     Document 1097    Filed 02/11/14    Page 8 of 10



Criminal No. 12-413 (FAB)                                                          8

Circuit Court of Appeals that “financial documents, receipts, and

business records . . . are generally kept for a number of years.”

United States v. Gardiner, 463 F.3d 445, 473 (6th Cir. 2006).

Accordingly, it would not be unreasonable for investigating agents

to    believe    that   key    evidence     pertaining   to   the    charged   drug

conspiracy would still be available at defendants’ residence three

years after the end date of the charged conspiracy.                       The other

items listed in the affidavit are also items which would likely be

available years after the end date of the charged conspiracy

including scales, containers, photographs, address and telephone

books, electronic communication devices and computers, all items

used by drug traffickers to further their criminal activities. See

id.

                    The Court also factors the nature of the place to be

searched into its staleness calculation.                 See Schaefer, 87 F.3d

at    568.      Here,   the   place    searched   was    defendants’      permanent

residence, making it more likely that items would remain within the

home over an extended period of time.             Id.    The affidavit provided

contemporary information regarding defendant Arce’s status as the

owner and resident of the home to be searched.                It indicated that

defendant Arce is listed as the owner of the residence and “had

been observed [there] as recently as June 1, 2012,” four (4) days

before the date of the search warrant, and five (5) days before the

indictment       was    unsealed      and   defendant     Arce      was   arrested.
    Case 3:12-cr-00413-FAB   Document 1097   Filed 02/11/14   Page 9 of 10



Criminal No. 12-413 (FAB)                                                      9

Considering the totality of the nature and circumstances of the

alleged offense, the characteristics of the items to be seized, the

nature of the information, and the nature of the place to be

searched, the Court finds that the warrant contained sufficiently

timely information to satisfy the probable cause nexus between

criminal act, place, and time.       Accordingly, the Court finds that

the search warrant was valid.

           2.    Overbreadth

                 To be valid, warrants must contain a “particular

description” of things to be seized. Coolidge, 403 U.S. at 467.

Courts have found warrants to be invalid where they in no way limit

the officers’ discretion over what to seize, the timing of records

sought, or the types of records or items sought.         See, e.g., United

States v. Abrams, 615 F.2d 541, 543 (1st Cir. 1980); Application of

Lafayette Acad., Inc., 610 F.2d 1, 5 (1st Cir. 1979); Montilla

Records of P.R., Inc. v. Morales, 575 F.2d 324, 327 (1st Cir.

1978); United States v. Klein, 565 F.2d 183, 190 (1st Cir. 1977).

                 The list of items to be seized in the warrant

application delineates twelve categories of items, ranging from

narcotics, paraphernalia used in the narcotics trade, firearms, and

financial records, to address books, travel receipts, cellphones,

pagers, two-way radios and suitcases.4        (Docket No. 1033-1.)           The


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       The indictment charges that suitcases were packed with cocaine and
placed on American Airlines commercial flights for transport to the
continental United States.
   Case 3:12-cr-00413-FAB   Document 1097    Filed 02/11/14   Page 10 of 10



Criminal No. 12-413 (FAB)                                                     10

warrant affidavit provided a detailed explanation of the relevance

of these items to the criminal activities alleged.                All of the

items were to be found within the residence searched.              While the

list of items to be seized was relatively broad, the Court finds

that the list’s scope is consistent with the scope of the drug

conspiracy charged. Thus, the Court finds that the warrant was not

unconstitutionally     overbroad.      The    magistrate      judge    had    a

substantial basis for determining that probable cause existed to

issue the search warrant.

                  Because the Court finds that the search warrant as

issued was valid, it does not address the applicability of the good

faith exception.

III. Conclusion

     For the reasons stated above, the Court finds that the search

warrant as issued was valid.        Defendants’ motion to suppress is

accordingly DENIED.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, February 11, 2014.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       UNITED STATES DISTRICT JUDGE
